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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                       MEMORANDUM & ORDER

         v.                                                            03-CR-929 (NGG)

 VINCENT BASCIANO, and
 PATRICK DEFILIPPO,

                            Defendants.
 ---------------------------------------------------------X
 GARAUFIS, United States District Judge.

         Vincent Basciano (“Basciano”) and Patrick DeFilippo (“DeFilippo”) (together

 “Defendants”) have requested a missing witness charge as to Joseph Massino. (DeFilippo Ltr

 dated April 10, 2006.) The United States (“Government”) has opposed this request, but asked for

 an equal availability charge. (Gov’t Requests to Charge, dated Apr. 10, 2006 at134.) Both

 requests are denied.

         In this case, Joseph Massino is not equally available to both sides, pursuant to United

 States v. Caccia, 122 F.3d 136, 139 (finding that physical availability was not sufficient to show

 equal availability), as DeFilippo’s attempts to interview Massino have been rejected.

 Nonetheless, Joseph Massino is not missing or unavailable because the Government has

 proffered that it will produce Massino if subpoenaed. Furthermore, the defense has Massino’s

 Rule 3500 material. See United States v. Abelis, 146 F.3d 73, 84 (2d Cir. 1998) (finding no error

 for trial judge to not give missing witness instruction where witness was willing to testify,

 although unwilling to be interviewed, the government provided defendants with F.B.I. records

 and other materials, and defense counsel was permitted to argue the issue to the jury.) As

 advised by the Second Circuit, I will not charge the jury at all on this subject, instead allowing
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 parties to raise it in their arguments. Caccia, 122 F.3d at 139-40 (finding that an equal

 availability charge was “ill-advised” where witness only physically available to defense); United

 States v. Torres, 845 F.2d 1165, 1169 (2d Cir. 1988) (if a witness is equally available to both

 sides, no instruction is necessary, particularly where the unpresented testimony would be merely

 cumulative.)

        Both Defendants’ and the Government’s requests for a jury charge on the availability of

 Joseph Massino are DENIED.



 SO ORDERED.
                                                       ____/s/___________________
 Dated: April 17, 2006                                 Nicholas G. Garaufis
 Brooklyn, N.Y.                                        United States District Judge
